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 8                                   IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA,                           CASE NO. 1:15-CR-00045-LJO-BAM

12                                         Plaintiff,     ORDER FOR FORFEITURE MONEY
                                                          JUDGMENT
13                              v.

14    MAHENDRA PRASAD,

15                                         Defendant.

16

17            Based upon the United States’ Application for Forfeiture Money Judgment and the entry

18    of a guilty plea as to defendant Mahendra Prasad,

19            IT IS HEREBY ORDERED that

20            1.       Defendant Mahendra Prasad shall forfeit to the United States $328,000.00 and the

21    Court imposes a personal forfeiture money judgment against the defendant in that amount.

22            2.       Any funds applied towards such judgment shall be forfeited to the United States of

23    America and disposed of as provided for by law. Prior to the imposition of sentence, any funds

24    delivered to the United States to satisfy the personal money judgment shall be seized and held by

25    the U.S. Marshals Service, in its secure custody and control.

26            3.       This Order of Forfeiture shall become final as to the defendant at the time of

27    sentencing and shall be made part of the sentence and included in the judgment.

28            4.       In accordance with Rule 32.2(b)(3), the United States, in its discretion, shall be
     ORDER FOR FORFEITURE MONEY JUDGMENT                 1
     Case 1:15-cr-00045-LJO-BAM Document 180 Filed 08/21/17 Page 2 of 2


 1    allowed to conduct discovery, including but not limited to serving Interrogatories, Requests for

 2    Admissions, Requests for Production of Documents, the taking of depositions, and the issuance of

 3    subpoenas, in order to identify, locate or dispose of property to satisfy the money judgment.

 4            5.       The United States may, at any time, move pursuant to Rule 32.2(e) to amend this

 5    Order of Forfeiture to substitute property having a value not to exceed $328,000.00 to satisfy the

 6    money judgment in whole or in part.

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      IT IS SO ORDERED.
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 9        Dated:      August 21, 2017                       /s/ Lawrence J. O’Neill _____
                                                    UNITED STATES CHIEF DISTRICT JUDGE
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     ORDER FOR FORFEITURE MONEY JUDGMENT               2
